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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,                      :
                                           :
            Petitioner,                    :          CIVIL ACTION
                                           :
            v.                             :          NO. 20-2675
                                           :
KENNETH EASON et al.,                      :
                                           :
            Defendants.                    :

                                       ORDER

     AND NOW, this _13th__ day of January 2021, upon consideration of the Petitioner’s

submission “USCA Order” (ECF 1), IT IS HEREBY ORDERED AND DECREED this

motion is DENIED AS MOOT.




                                                      BY THE COURT:

                                                      /s/ Petrese B. Tucker

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                                                      Hon. Petrese B. Tucker, U.S.D.J.
